                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



AMERICAN PUBLIC HEALTH
ASSOCIATION; IBIS REPRODUCTIVE
HEALTH; INTERNATIONAL UNION,
UNITED AUTOMOBILE, AEROSPACE,
AND AGRICULTURAL IMPLEMENT
WORKERS (UAW); BRITTANY
CHARLTON; KATIE EDWARDS; PETER
LURIE; and NICOLE MAPHIS,

                             Plaintiffs,
                                                      Civil Action No. 1:25-cv-10787-WGY
               v.
                                                      Leave to file excess pages granted
NATIONAL INSTITUTES OF HEALTH;                        May 5, 2025 (ECF No. 62)
JAY BHATTACHARYA, in his official
capacity as Director of the National Institutes
of Health; UNITED STATES
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; and ROBERT F.
KENNEDY, JR., in his official capacity as
Secretary of the United States Department of
Health and Human Services,

                            Defendants.




                     DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                      MOTION FOR PRELIMINARY INJUNCTION




                                                  i
                                                            Table of Contents
I.         Introduction ............................................................................................................................. 1
II.        Background ............................................................................................................................. 2
III.            Relevant Procedural History ............................................................................................... 5
IV.             Legal Standard .................................................................................................................... 5
V.         Argument ................................................................................................................................ 6
      A.        This Court Lacks Jurisdiction over Plaintiffs’ Claims ........................................................ 6
           1. The Court of Federal Claims has exclusive jurisdiction over Plaintiffs’ grant-
           termination claims................................................................................................................... 7
           2. The Court lacks jurisdiction to order the relief that plaintiffs request because the
           United States has not waived sovereign immunity for specific performance of contracts. .. 12
           3. In cloaking their contract suit under the guise of an APA claim, plaintiffs would assert
           an impermissible programmatic challenge. .......................................................................... 13
           4.      Plaintiffs’ challenge to NIH’s actions is not justiciable................................................ 15
           5.      Congress committed grant administration to agency discretion. .................................. 19
           6.      The organizational Plaintiffs Do Not Have Standing ................................................... 21
      B.        Plaintiffs are unlikely to succeed on the merits. ............................................................... 22
           1. Plaintiffs’ 706(2) claims fail because NIH followed the law and provided sufficient
           reasons when it terminated the grants. .................................................................................. 22
           2.      Plaintiffs’ due process challenge (Count IV) fails at the threshold and on the merits.. 29
           3. Plaintiffs’ “delay” claims under § 706(1) are unlikely to succeed because plaintiffs
           have not identified a discrete and mandatory agency action that the agency failed to take. 31
           4.      The Amended Complaint asserts no viable separation of powers claim. ..................... 34
      C.        Plaintiffs’ Alleged Harms are Not Certain, Imminent, and Irreparable. ........................... 36
           1.      Plaintiffs’ alleged harm is not irreparable ..................................................................... 36
      D.        An Injunction Would be Contrary to the Public Interest. ................................................. 38
      E.        Any Injunction should be Narrowly Tailored. .................................................................. 38
      F. The Court Should Stay Any Order for Preliminary Relief and Order That Plaintiffs Post
      Bond. ......................................................................................................................................... 39
VI.             Conclusion ........................................................................................................................ 40




                                                                            ii
Cases
Acosta Ramirez v. Banco Popular de P.R., 712 F.3d 14 (1st Cir. 2013) ...................................... 10
Adams v. Freedom Forge Corp., 204 F.3d 475 (3d Cir. 2000) .................................................... 40
Akebia Therapeutics, Inc. v. Azar, 443 F. Supp. 3d 219 (D. Mass. 2020) .................................... 10
Alabama-Coushatta Tribe of Tex. v. United States, 757 F.3d 484 (5th Cir. 2014) ................ 17, 18
Alaska Indus. Dev. & Exp. Auth. v. Biden, 685 F. Supp. 3d 813 (D. Alaska 2023) ..................... 37
Albrecht v. Comm. on Emp. Benefits of the Fed. Rsrv. Emp. Benefits Sys., 357 F.3d 62 (D.C. Cir.
  2004) ......................................................................................................................................... 11
Am. Ass’n of Retired Persons v. E.E.O.C., 823 F.2d 600 (D.C. Cir. 1987) .................................. 37
Am. Civ. Liberties Union of Mass. v. U.S. Conf. of Cath. Bishops, 705 F.3d 44 (1st Cir. 2013) . 19
Am. Petro. Inst. v. U.S. Dep’t of Interior, 81 F.4th 1048 (10th Cir. 2023) ................................... 30
Am. Sci. & Eng’g, Inc. v. Califano, 571 F.2d 58 (1st Cir. 1978) .................................................. 14
Am. Tel. and Tel. Co. v. United States, 124 F.3d 1471 (Fed. Cir. 1997), aff’d, 307 F.3d 1374
  (Fed. Cir. 2002) ......................................................................................................................... 39
Arruda v. Sears, Roebuck & Co., 310 F.3d 13 (1st Cir. 2002) ..................................................... 11
Bennett v. Spear, 520 U.S. 154 (1997) ......................................................................................... 20
Biden v. Texas, 597 U.S. 785 (2022) ............................................................................................ 22
Block v. North Dakota, 461 U.S. 273 (1983) ................................................................................ 16
Brendsel v. Off. of Fed. Hous. Enter. Oversight, 339 F. Supp. 2d 52 (D.D.C. 2004) .................. 39
Burgos v. Milton, 709 F.2d 1 (1st Cir. 1983) ................................................................................ 11
Califano v. Yamasaki, 442 U.S. 682 (1979) ................................................................................. 42
Calixto v. Walsh, No. 19-1853, 2022 WL 4446383 (D.D.C. Sep. 23, 2022) ............................... 30
Carlson v. United States, 837 F.3d 753 (7th Cir. 2016) ............................................................... 27
Carman, 112 F.4th at 402 ............................................................................................................. 33
Cf. Sackett v. EPA, 566 U.S. 120 (2012) ...................................................................................... 21
Charlesbank Equity Fund II v. Blinds To Go, Inc., 370 F.3d 151 (1st Cir. 2004) ........................ 41
Clapper v. Amnesty Int’l USA, 568 U.S. 398 (2013) .................................................................... 20
Coggeshall Dev. Corp. v. Diamond, 884 F.2d 1 (1st Cir. 1989) .................................................. 16
Columbus Reg’l Hosp. v. United States, 990 F.3d 1330 (Fed. Cir. 2021) .................................... 15
Crowley Gov’t Servs., Inc. v. GSA, 38 F.4th 1099 (D.C. Cir. 2022) ............................................ 10
Davis v. Federal Election Comm’n, 554 U.S. 724 (2008) ............................................................ 25
Dep’t of Commerce v. New York, 588 U.S. 752 (2019) ................................................................ 24
Department of Education v. California, 604 U.S. __, 145 S. Ct. 966 (2025)........................ passim
Diaz v. Johnson, No. 19-1501, 2020 WL 9437887 (1st Cir. Nov. 12, 2020) ............................... 13
Dubois v. U.S. Dep’t of Agriculture, 102 F.3d 1273 (1st Cir. 1996) ............................................ 25
Edgar v. MITE Corp., 457 U.S. 624 (1982) ................................................................................. 44
EEOC v. Astra USA, Inc., 94 F.3d 738 (1st Cir. 1996)................................................................. 40
FAA v. Cooper, 566 U.S. 284 (2012)............................................................................................ 10
Faculty Senate of Fla. Int’l Univ. v. Winn, 477 F. Supp. 2d 1198 (S.D. Fla. 2007) ..................... 41
FCC v. Fox Television Stations, Inc., 556 U.S. 502 (2009).............................................. 28, 29, 30
FCC v. Fox Television Stations, Inc., 567 U.S. 239 (2012).......................................................... 33
FDA v. Alliance for Hippocratic Medicine, 602 U.S. 367 (2024) ................................................ 26
Free Speech Coal., Inc. v. Att’y Gen. United States, 974 F.3d 408 (3d Cir. 2020) ...................... 43
FTC v. Standard Oil Co. of California, 449 U.S. 232 (1980) ...................................................... 21
Funds for Animals, Inc. v. U.S. Bureau of Land Mgmt., 460 F.3d 13 (D.C. Cir. 2006) ............... 36
Gizzo v. Ben-Habib, 44 F. Supp. 3d 374 (S.D.N.Y. 2014) ........................................................... 34
Glaskin v. Klass, 996 F. Supp. 67 (D. Mass. 1998) ...................................................................... 11
                                                                        iii
Glob. Naps, Inc. v. Verizon New England, Inc., 489 F.3d 13 (1st Cir. 2007)............................... 44
Gonzalez-Droz v. Gonzalez-Colon, 573 F.3d 75 (1st Cir. 2009) .................................................. 10
Grayned v. City of Rockford, 408 U.S. 104 (1972) ...................................................................... 33
Harper v. Werfel, 118 F.4th 100 (1st Cir. 2024)..................................................................... 20, 21
Heckler v. Chaney, 470 U.S. 821 (1985) ...................................................................................... 24
Heckler v. Turner, 468 U.S. 1305 (1984) ..................................................................................... 42
Holbrook v. Tennessee Valley Auth., 48 F.4th 282 (4th Cir. 2022) .............................................. 24
Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333 (1977) .............................................. 25
Imaginarium LLC v. U.S. Small Bus. Admin., 618 F. Supp. 3d 1225 (D. Utah 2022).................. 16
Ingersoll-Rand Co. v. United States, 780 F.2d 74 (D.C. Cir. 1985) ...................................... passim
Int’l Equity Inv., Inc. v. Opportunity Equity Partners, Ltd., 441 F. Supp. 2d 552 (S.D.N.Y. 2006)
   ................................................................................................................................................... 44
iQuartic, Inc. v. Simms, 15-cv-13015, 2015 WL 5156558 (D. Mass. 2015) ................................ 44
J.C. Prods., Inc. v. United States, 608 F. Supp. 92 (W.D. Mich. 1984) ....................................... 15
Lincoln v. Vigil, 508 U.S. 182 (1993) ..................................................................................... 23, 24
Lowenthal v. Massachusetts, No. 14–13631, 2014 WL 5285615, (D. Mass. Oct. 14, 2014) ....... 10
Lujan v. National Wildlife Federation. 497 U.S. 871 (1990) ..................................... 17, 18, 24, 35
Mass. Fair Hous. Ctr. v. Dep’t of Hous. & Urban Dev., No. 3:25-cv-30041 (Apr. 14, 2025) .... 14
Mathews v. Eldridge, 424 U.S. 319 (1976)................................................................................... 42
Maynard v. Cartwright, 486 U.S. 356 (1988)............................................................................... 33
Mead Johnson & Co. v. Abbott Labs., 201 F.3d 883 (7th Cir. 2000) ........................................... 44
Milk Train, Inc. v. Veneman, 310 F.3d 747 (D.C. Cir. 2002) ....................................................... 23
Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983) ............... 28, 29
Murthy v. Missouri, 603 U.S. 43 (2024) ....................................................................................... 25
Narragansett Indian Tribe v. Guilbert, 934 F.2d 4 (1st Cir. 1991) .............................................. 42
Nat’l Endowment for the Arts v. Finley, 524 U.S. 569 (1998) ..................................................... 34
Nat’l Org. of Veterans’ Advocs., Inc. v. Sec’y of Veterans Affs., 927 F.3d 1263 (Fed. Cir. 2019)30
Nat’l Urban League v. Trump, __ F. Supp. 3d __, 2025 WL 1275613 (D.D.C. May 2, 2025)... 22,
   34, 35
New York v. Trump, 33 F.4th 51 (1st Cir. 2025)........................................................................... 18
Nken v. Holder, 556 U.S. 418 (2009) ........................................................................................... 10
Norton v. S. Utah Wilderness All., 542 U.S. 55 (2004) .................................................... 35, 36, 38
Peoples Fed. Sav. Bank v. People’s United Bank, 672 F.3d 1, 8-9 (1st Cir. 2012) ........................ 9
Redondo-Borges v. U.S. Dep’t of Hous. & Urb. Dev., 421 F.3d 1 (1st Cir. 2005)....................... 34
Sampson v. Murray, 415 U.S. 61 (1974) ...................................................................................... 41
San Juan City Coll. v. United States, 391 F.3d 1357 (Fed. Cir. 2004) ......................................... 15
Scarborough Citizens Protecting Res. v. U.S. Fish & Wildlife Serv., 674 F.3d 97 (1st Cir. 2012)
   ................................................................................................................................................... 35
Sessions v. Dimaya, 584 U.S. 148 (2018) ..................................................................................... 33
Sierra Club v. EPA, 353 F.3d 976 (D.C. Cir. 2004) ..................................................................... 28
Tamko Roofing Prods., Inc. v. Ideal Roofing Co., 282 F.3d 23 (1st Cir. 2002) ..................... 40, 42
Thermalon Indus., Ltd. v. U.S., 34 Fed. Cl. 411 (1995) ................................................................ 15
TransUnion v. Ramirez. 594 U.S. 413 (2021) .............................................................................. 25
Trump v. Hawaii, 585 U.S. 667 (2018) ........................................................................................ 43
Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442 (2016) .............................................................. 25
U.S. Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1 (2020) ........................ 30
United States v. Rodgers, 461 U.S. 677 (1983) ............................................................................ 27
                                                                          iv
Univ. of Med. & Dentistry of N.J. v. Corrigan, 347 F.3d 57 (3d Cir. 2003) ................................ 21
Vill. of Bald Head Island v. U.S. Army Corp. of Eng’rs, 714 F.3d 186 (4th Cir. 2013) ............... 22
Voice of the Arab World, Inc. v. MDTV Med. News Now, Inc., 645 F.3d 26 (1st Cir. 2011) ....... 10
Whitewater Draw Natural Resources Conservation District v. Mayorkas, 5 F.4th 997 (9th Cir.
  2021) ......................................................................................................................................... 23
Winter v. Nat. Res. Def. Counsel, Inc., 555 U.S. 7 (2008).................................................. 9, 10, 41
Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1 (2015) ............................................................. 38
Statutes
28 U.S.C. § 1491 ....................................................................................................................... 5, 11
42 U.S.C. § 241 ............................................................................................................................... 7
42 U.S.C. § 282 ............................................................................................................................... 7
42 U.S.C. § 282(b)(1) ................................................................................................................... 38
42 U.S.C. § 282(b)(11)(B) ............................................................................................................ 24
42 U.S.C. § 282(b)(3) ............................................................................................................. 24, 38
42 U.S.C. § 282(m)(1) .................................................................................................................. 32
42 U.S.C. § 283p ........................................................................................................................... 31
42 U.S.C. § 284(b)(1)(D) .............................................................................................................. 24
42 U.S.C. § 284(b)(2) ............................................................................................................. 15, 24
42 U.S.C. § 284(b)(2)(A)–(B)....................................................................................................... 24
42 U.S.C. § 284a ............................................................................................................................. 9
42 U.S.C. § 285a-6........................................................................................................................ 31
42 U.S.C. § 285b-7a(c)(1)............................................................................................................. 31
42 U.S.C. § 285t(a) ....................................................................................................................... 31
42 U.S.C. § 241(a)(3).............................................................................................................. 24, 39
42 U.S.C. § 241(a)(7).................................................................................................................... 15
42 U.S.C. § 282(h) ........................................................................................................................ 31
5 U.S.C. § 1009 ............................................................................................................................... 8
5 U.S.C. § 551(13) ........................................................................................................................ 36
5 U.S.C. § 701(a)(2)...................................................................................................................... 23
5 U.S.C. § 702 ............................................................................................................................... 10
5 U.S.C. § 704 ............................................................................................................................... 20
Other Authorities
H.R. 2882, 118th Cong. (2024)..................................................................................................... 39
NIHGPS § 8.2.1 ............................................................................................................................ 15
NIHGPS at IIA-155 (2024)..................................................................................................... 27, 28
Rules
Fed. R. Civ. P. 65(c) ..................................................................................................................... 44
Regulations
2 C.F.R. § 200.340 .............................................................................................................. 7, 26, 27
42 C.F.R. § 52.5(b) ....................................................................................................................... 36
42 C.F.R. § 52.6 .......................................................................................................................... 7, 8
45 C.F.R. § 75.2 ............................................................................................................................ 15
45 C.F.R. § 75.372(a).................................................................................................................... 27



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I.     INTRODUCTION

       Plaintiffs request a preliminary injunction for two sets of claims: (1) contract-based grant-

termination claims; and (2) claims of unreasonable delay in processing grant applications. The

Tucker Act requires that contract-based grant termination claims be brought in the Court of Federal

Claims. See 28 U.S.C. § 1491(a)(1). Plaintiffs frame these claims as constitutional, statutory, and

regulatory challenges and invoke the Administrative Procedures Act, but, at its heart, Plaintiffs

seek to undo the National Institute of Health’s (NIH) grant terminations and require the United

States to specifically perform the agreements. Plaintiffs’ claims are rooted in those grant

agreements, and whether the terms of those agreements allowed termination to effectuate agency

priorities. The APA thus confers no jurisdiction upon this Court to review plaintiffs’ claims or to

restore previously awarded grants.

       The Court also lacks jurisdiction for additional independent and alternative reasons. First,

plaintiffs’ claims are prohibited programmatic challenges rather than challenges to identified final

agency actions. Plaintiffs attack the Executive’s authority to alter the government’s course after a

change in administration, and impermissibly call upon this Court to supervise agency operations.

       Second, even considering the identified actions individually, which Plaintiffs misleadingly

call “Directives,”1 the Court lacks jurisdiction to review them. Indeed, the challenge to each

Directive fails either because it has already expired, it did not harm plaintiffs, or it is not a final




 1
   For the sake of clarity, Defendants use the same naming conventions used by Plaintiffs in their
Memorandum in Support of Motion for Preliminary Injunction (ECF No. 41). Use of this
terminology should not be construed as agreement with any of Plaintiffs’ allegations.

Moreover, despite claiming otherwise, ECF No. 41 at 6 n.2, Plaintiffs definition of the
“Directives” differs from the defined “Challenged Directives” in the related matter. Compare
ECF No. 37-1 ¶ 1 with Massachusetts v. Kennedy, No. 1:25-cv-10814-WGY, ECF No. 76-1 at 2.
                                               1
agency action subject to APA review. Third, grant termination decisions are not subject to APA

review. Although a grant recipient may seek recourse in the Court of Federal Claims under the

Tucker Act, for purposes of APA review, the awarding and termination of grants is committed to

agency discretion by law. For all these reasons too, the Court lacks jurisdiction.

       Plaintiffs next claim that the National Institutes of Health (NIH) has unlawfully delayed

the review and decision of grant applications. But the APA does not authorize a district court to

review day-to-day program operations of federal agencies, and the “delay” claims are moot as NIH

is now expeditiously reviewing and deciding applications.

       All of Plaintiffs’ claims are also unlikely to succeed on their merits. The terms and

conditions of Plaintiffs’ grant agreements provided that a change in agency priorities is a valid

basis for the agency to terminate the grants. Defendants’ grant terminations were based on the

agency’s new priorities, well-reasoned, and complied with applicable statutes.

       Plaintiffs’ claims of irreparable harm from the grant terminations and delays also fail as

the harms they claim are monetary, speculative, or described so generally that the description

cannot satisfy plaintiffs’ high burden of proof. Nor can plaintiffs show that the public interest

favors them. On the contrary, the public has a substantial interest in the federal government’s

responsible stewardship of the public fisc. A preliminary injunction risks loss of federal funds that

would likely be difficult or impossible to recover if NIH ultimately prevails.

       For these reasons, plaintiffs’ motion for a preliminary injunction should be denied.

II.    BACKGROUND

       NIH’s mission is to “seek fundamental knowledge about the nature and behavior of living




                                                 2
systems” in order to enhance health, lengthen life, and reduce illness and disability.2 To further

this mission, NIH spent more than $35 billion in Fiscal Year 2023 on almost 50,000 competitive

grants to more than 300,000 researchers at more than 2,500 universities, medical schools, and other

research institutions across all 50 states and the District of Columbia. See Supplemental Guidance

to the 2024 NIH Grants Policy Statement: Indirect Cost Rates, NOT-OD-25-068 (Feb. 7, 2025).

         In awarding grants, NIH has been given broad discretion by Congress. 42 U.S.C.

§ 241(a)(3); 42 U.S.C. § 282(b)(3), (12). The Health and Human Services (“HHS”) Secretary

awards grants “to those applicants whose approved projects will in the Secretary’s judgment best

promote the purposes of the statute authorizing the grant and the regulations of this part.” 42 C.F.R.

§ 52.6(a). NIH also has broad discretion in grant administrations. See, e.g., 42 C.F.R. § 52.6(f).

         When NIH awards a grant, it enters an agreement with the grantee by issuing a Notice of

Award (“NOA”), and the terms of that NOA govern the contractual relationship between the

grantee and NIH. The terms of the grant agreements include the terms identified in NIH’s Grant

Policy Statement (“NIHGPS”), including 2 C.F.R. § 200.340, which permits NIH to terminate a

grant agreement if it “no longer effectuates the program goals or agency priorities.” 2 C.F.R. §

200.340(a)(4); See NIH Grants Policy Statement (“NIHGPS”) at Part II, Subpart A: General, ch.

33; see also, e.g., ECF No. 38-24 at 15-16 (listing “all other requirements described in the NIH

Grant Policy Statement” under “Standard Terms and Conditions”). Importantly, while a grant

agreement permits the grantee to draw funds, it does not “commit[] or obligate[] the United States




2
  NIH, Mission and Goals, available at https://www.nih.gov/about-nih/what-we-do/mission-goals
(last visited Feb. 14, 2025).
3
    https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf
                                                   3
in any way to make any additional, supplemental, continuation, or other award with respect to any

approved application or portion of an approved application.” 42 C.F.R. § 52.6(c)(3).

       Following the 2024 Presidential election, NIH’s priorities shifted. NIH exercised its broad

discretion and authority to make and administer grants in alignment with those priorities, including

by terminating certain grants. It conducted a comprehensive review of outstanding grants to

determine which ones departed from its current priorities. To effectuate this review, from January

21 to February 1, the Administration issued a temporary freeze on the publication of any

documents in the Federal Register until they were reviewed by a presidential appointee. See Lorsch

Decl. ¶ 18. Because NIH must post a notice to the Federal Register every time it schedules a

meeting to review grants, it scheduled no meetings for the duration of the temporary pause. 5

U.S.C. § 1009(a)(2). Id. ¶¶ 19, 21. NIH also cancelled all peer reviews for that period. Id. ¶ 20.

       “[T]o provide the Administration time to review agency programs and determine the best

uses of the funding for those programs consistent with law and the President’s priorities,” on

January 27, the Administration announced a “temporary pause on all . . . disbursements of Federal

financial assistance, and other relevant agency activities that may be implicated by executive

orders.” ECF No. 38-7 at 3. This included a “pause [on] all activities associated with open [Notice

of Funding Opportunities], such as conducting merit review panels.” Id. The temporary pauses

have ended, and NIH is now in the process of holding 578 peer review meetings between March

24 and May 31.4 Lorsch Decl. at ¶ 22, 24. NIH is moving expeditiously and anticipates that by

the end of May, it will have completed over 100% of the peer review meetings for the current

advisory council cycle (Cycle III), and it will have completed review of 100% of the Cycle III




4
 See, e.g., 90 Fed. Reg. 11175; 90 Fed. Reg. 11324; 90 Fed. Reg. 11323; 90 Fed. Reg. 11422; 90
Fed. Reg. 12333; 90 Fed. Reg. 12325; 90 Fed. Reg. 13187; 90 Fed. Reg. 13182.
                                               4
applications. Id. ¶ 25. The NIH institutes and centers (ICs) have also held or scheduled the advisory

council meetings that were delayed as a result of the pause, and NIH will meet its obligations

pursuant to 42 U.S.C. § 284a(e).5 Id. ¶ 26. Additionally, from the date of the pause (Jan. 21, 2025)

until May 12, 2025, NIH had issued 11,362 new non-competitive grants and issued 1,971 new

competitive grants. Id. ¶ 27. Beginning in late February, NIH identified 689 grants for termination

and sent termination letters explaining its decision. See, e.g., ECF No. 38-33 at 56-57.6 The letters

also notified grantees of their appeal rights. Id. at 57. There are currently 431 appeals of grant

terminations through NIH’s appeals process. Lorsch Decl. ¶ 13.

III.    RELEVANT PROCEDURAL HISTORY

        Plaintiffs filed this suit on April 2, 2025, over a month after grant terminations started. See

Compl., ECF No. 1. More than three weeks after filing their Complaint, on April 25, 2025,

Plaintiffs filed a Motion for a Preliminary Injunction (PI). ECF No. 37.

IV.     LEGAL STANDARD

        “A preliminary injunction is an extraordinary and drastic remedy that is never awarded as

of right.” Peoples Fed. Sav. Bank v. People’s United Bank, 672 F.3d 1, 8-9 (1st Cir. 2012) (internal

quotation omitted). A movant may be awarded such an extraordinary remedy only “upon a clear

showing” that it is “entitled to such relief.” Winter v. Nat. Res. Def. Counsel, Inc., 555 U.S. 7, 22

(2008). “A plaintiff seeking a preliminary injunction must establish that [it] is likely to succeed on

the merits, that [it] is likely to suffer irreparable harm in the absence of preliminary relief, that the

balance of equities tips in [its] favor, and that an injunction is in the public interest.” Winter v. Nat.


5
  See, e.g., 90 Fed. Reg. 14267; 90 Fed. Reg. 13755; 90 Fed. Reg. 13175; 90 Fed. Reg. 14454; 90
Fed. Reg. 13376; 90 Fed. Reg. 15009; 90 Fed. Reg. 14143; 90 Fed. Reg. 13379; 90 Fed. Reg.
13604.
6
  Including competitive and non-competitive grants, NIH had 91,482 active grants between
January 21, 2025, and May 12, 2025. Lorsch Decl. ¶ 14.
                                                5
Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The moving party “bears the burden of satisfying

each of these four elements,” using evidence to support its contentions. Akebia Therapeutics, Inc.

v. Azar, 443 F. Supp. 3d 219, 225 (D. Mass. 2020). The last two factors “merge when the

Government is the party opposing the preliminary injunction.” Nken v. Holder, 556 U.S. 418, 435

(2009). Irreparable harm “constitutes a necessary threshold showing for an award of preliminary

injunctive relief,” Gonzalez-Droz v. Gonzalez-Colon, 573 F.3d 75, 79 (1st Cir. 2009), and is “the

basis for injunctive relief.” Voice of the Arab World, Inc. v. MDTV Med. News Now, Inc., 645 F.3d

26, 32 (1st Cir. 2011). As a threshold matter, the court must have jurisdiction to order such relief.

Lowenthal v. Massachusetts, No. 14–13631, 2014 WL 5285615, at *2 (D. Mass. Oct. 14, 2014).

V.     ARGUMENT

       A. This Court Lacks Jurisdiction over Plaintiffs’ Claims

       The Court must first assess whether it has subject matter jurisdiction. See Acosta Ramirez

v. Banco Popular de P.R., 712 F.3d 14, 18 (1st Cir. 2013) (“Federal courts are obligated to resolve

questions pertaining to subject-matter jurisdiction before addressing the merits of a case”). As a

general rule, the federal government is “immune from suit in federal court absent a clear and

unequivocal waiver of sovereign immunity.” Crowley Gov’t Servs., Inc. v. GSA, 38 F.4th 1099,

1105 (D.C. Cir. 2022). Thus, to sue a federal agency, a plaintiff must identify an express waiver

in the text of a federal law and show that its claim falls within the waiver’s scope. See FAA v.

Cooper, 566 U.S. 284, 290 (2012) (“a waiver of sovereign immunity must be ‘unequivocally

expressed’ in statutory text”). Here, Plaintiffs seek to rely on the APA, which includes a limited

waiver of sovereign immunity for claims “seeking relief other than money damages.” 5 U.S.C.

§ 702. That limited waiver does not extend to this action for several independent reasons.




                                                 6
            1. The Court of Federal Claims has exclusive jurisdiction over Plaintiffs’ grant-
               termination claims.

         When a party seeks to access funding that it believes the government owes under a contract

or grant, the proper remedy is typically suit under the Tucker Act, not the APA. See Burgos v.

Milton, 709 F.2d 1, 3 (1st Cir. 1983). The Tucker Act confers exclusive jurisdiction on the United

States Court of Federal Claims to hear cases involving express or implied contracts with the United

States which exceed $10,000. 28 U.S.C. § 1491(a)(1). Therefore, “the Tucker Act impliedly

forbids” the bringing of “contract actions” against “the government in a federal district court”

under the APA. Albrecht v. Comm. on Emp. Benefits of the Fed. Rsrv. Emp. Benefits Sys., 357 F.3d

62, 67-68 (D.C. Cir. 2004); see also Glaskin v. Klass, 996 F. Supp. 67, 72 (D. Mass. 1998). This

ensures that contract claims against the government are channeled to the court that has “unique

expertise” in that area. Ingersoll-Rand Co. v. United States, 780 F.2d 74, 78 (D.C. Cir. 1985).

         Plaintiffs contend the Tucker Act does not apply because their claims are “not rooted in

contract with the government, but rather statutory, regulatory, and constitutional law,” Pls.’ Mem.

(ECF No. 41) at 14; they do not seek money damages but “declaratory and injunctive relief aimed

at the unlawfulness of the Directives [and] terminations,” id. at 16; and the Court of Federal Claims

“is unable to remedy any of these [claimed] ongoing injuries,” id. Despite Plaintiffs’ artfully

disguised contract-based claims, “[p]ainting a pumpkin green and calling it a watermelon will not

render its contents sweet and juicy.” Arruda v. Sears, Roebuck & Co., 310 F.3d 13, 24 (1st Cir.

2002).

         Ingersoll-Rand Co. v. United States is directly on point. See 780 F.2d 74 (D.C. Cir. 1985).

There, plaintiffs sued the United States in federal district court after the government terminated its

contract. Like Plaintiffs here, Ingersoll alleged that the court had jurisdiction because its claims

were rooted in regulation, not contract; sought only declaratory and injunctive relief and did not

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specifically allege a breach of contract claim; and argued that the relief available in the alternative

court was inadequate. Id. at 76-80. The D.C. Circuit disagreed, holding that the district court lacked

jurisdiction over Ingersoll’s contract-based claims. Id. at 80. In doing so, the Ingersoll Court noted

that “a plaintiff may not avoid the jurisdictional bar of the [Act] by alleging violations of regulatory

or statutory provisions rather than breach of contract,” id. at 77, that the “essence of I-R’s claim is

a request for specific performance of the original contract,” id. at 79-80, and that Ingersoll had not

established that a damages award was an inadequate remedy, id. at 80. Like Ingersoll, this Court

should see through Plaintiffs’ attempt to cloak their contract-based grant termination claims under

the guise of regulatory or constitutional claims. Plaintiffs may not sidestep the Tucker Act’s

jurisdictional bar simply by avoiding a request for damages.

        Moreover, in Department of Education v. California (California), the Supreme Court

addressed this issue in the same context: termination of grant awards that no longer aligned with

agency priorities. 604 U.S. __, 145 S. Ct. 966 (2025). There too, plaintiffs asserted APA claims,

and sought only declaratory and injunctive relief, and not money damages, after the Department

of Education terminated certain grants that no longer aligned with agency priorities. See No. 1:25-

cv-10548, Compl. (ECF No. 1) ¶¶ 3, 14, pp. 51-52; Proposed TRO Order (ECF No. 2-1) at 2; 2025

WL 725103 (D. Mass., filed March 6, 2025). After the district court issued a temporary restraining

order (1) enjoining the government from terminating those grants and (2) requiring the government

to “restore Plaintiff states to the pre-existing status quo prior to the termination [of the grants],” id.

at TRO (ECF No. 41 at 9) —the same relief the Plaintiffs here request—the Supreme Court stayed

that order, explaining that the government is “likely to succeed in showing the District Court lacked

jurisdiction to order the payment of money under the APA.” Id. at 968-69. According to the

Supreme Court, suits seeking relief like that sought by the California plaintiffs, and like those


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asserted in this case, belong in the Court of Federal Claims. See id.7 Plaintiffs’ arguments here

mirror those made by the California plaintiffs and rejected by the Supreme Court. 145 S. Ct. at

968-69; see California Pls.’ Opp’n to Application, 2025 WL 963588, at *20-27 (March 28, 2025).8

       The Plaintiffs grant-termination claims arose only when NIH terminated the grants

pursuant to the terms of the grant agreement. “The question presented by the complaint could be

phrased as whether the contract forbids termination under these conditions.” Ingersoll, 780 F.2d

at 78. Though Plaintiffs contend that “HHS regulations do not authorize Defendants to terminate

grants based on [2 C.F.R. § 200.340],” ECF No. 41 at 27, “[t]hat the termination also arguably

violates certain other regulations does not transform the action into one based solely on those

regulations.” Ingersoll, 780 F.2d at 78. That Plaintiffs’ argument as to alleged irreparable harm is

based on financial loss shows the contractual nature of the claims. See ECF No. 41 at 33-37.

       Nor does Plaintiffs’ attempt to disguise their claims as ones for “equitable relief setting

aside Defendants’ actions” change the result. See ECF No. 41 at 16. Diaz v. Johnson, No. 19-1501,

2020 WL 9437887, at *2 (1st Cir. Nov. 12, 2020) (holding that plaintiff “cannot manufacture an



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  Like the First Circuit’s decision, the Supreme Court’s decision in California concerned only
whether the government was likely to succeed (on its Tucker Act arguments) in the context of a
stay pending appeal. On the question of likelihood of success — the same standard at issue in
this PI motion — the Supreme Court abrogated the First Circuit’s ruling and found the
government likely to succeed on the merits and would suffer harm absent a stay. 145 S. Ct. at
968. Neither the Supreme Court’s ruling nor the First Circuit’s decision is binding on the merits
themselves. See 132 F.4th 92, 96 (1st Cir. 2025) (“[O]ur discussion at this point assesses only the
likelihood of success on the merits as the record now stands and does not constitute a holding on
the merits.” (emphasis added)).
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  Plaintiffs rely on Bowen, but the Supreme Court held in California that Bowen does impact the
Tucker Act’s grant of exclusive jurisdiction to the Court of Federal Claims for claims to compel
the payment of money under grants, such as this one. Nor did Bowen involve a claim for breach
of contract; rather, in holding the Tucker Act inapplicable to a State’s claim under the Medicaid
Act, the Court stressed both the statutory nature of that specific cause of action and the intricate
features of the Medicaid Act. Bowen, 487 U.S. at 900 n.31. By citing Bowen in California, the
Supreme Court demonstrated that Bowen is distinguishable here.
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APA claim by asking the court to declare that the failure to fund his proposal was an arbitrary or

capricious act”); Am. Sci. & Eng’g, Inc. v. Califano, 571 F.2d 58, 63 (1st Cir. 1978) (“We have

concluded that the essence of the action is in contract, and plaintiff cannot by the mystique of a

different form of complaint make it otherwise” (internal quotation marks and citation omitted)).

Plaintiffs’ requested injunction makes clear that the essence of their action is to “set aside” the

termination of (i.e. continue to perform on) the terminated NIH grants. See PI Proposed Order,

ECF No. 37-1 at ¶ 1 (“cease implementation of the following directives”), ¶ 2 (“inform all agency

personnel they are not to implement the Directives,” ¶ 3 (“cease termination of any NIH . . . grant

or grant program”), ¶ 6 (“refrain from freezing or otherwise withholding NIH grant funding”); ¶ 7

(“restore grants, retroactive to the respective termination date); ¶ 9 (“unfreeze and release any

reimbursements or other funding awards issued by or on behalf of NIH”); ¶ 11 (“refrain from

terminating NIH grants and grant programs”); ¶ 12 (“restore grants that NIH has terminated”).

Like their arguments, the injunctive relief Plaintiffs requests closely match the district court’s order

stayed by the Supreme Court in California. See California v. U.S. Dept. of Ed., No. 25-cv-10548,

ECF No. 41 at 9-10 (D. Mass. Mar. 10, 2025) (“Defendants are temporarily enjoined from …

maintaining… the termination of any previously awarded … grants for recipients in Plaintiff

States, … such as suspension or withholding of any funds approved and obligated for the grants”).

        As Judge Stearns noted in another case challenging grant terminations brought under the

cloak of the APA, although plaintiffs based their claims on federal statutes instead of using

contract-based language, thee claims in essence “sought to enforce a contractual obligation to pay

money.” Mass. Fair Hous. Ctr. v. Dep’t of Hous. & Urban Dev., No. 3:25-cv-30041, ECF No. 42

(Apr. 14, 2025) (citing California). Thus, the district court was obligated to “defer . . . to the

Supreme Court’s unmistakable directive that, for jurisdictional purposes, the proper forum for this

case is the Court of Federal Claims.” Id. Plaintiffs attempt to distinguish their claims from those
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in California by noting they “assert both statutory and constitutional claims,” ECF No. 41 at 17,

but this is simply the same contract-based claim repackaged in a different box.9 See Ingersoll, 780

F.2d at 78 (citing J.C. Prods., Inc. v. United States, 608 F. Supp. 92, 94 (W.D. Mich. 1984) (where

government terminated plaintiffs contract, cause of action is on the contract despite plaintiffs’

claims of statutory and constitutional violations)).

       Finally, Plaintiffs argue that NIH grants are not contracts. ECF No. 41 at 15. Courts have

routinely held that “grant agreements [are] contracts when the standard conditions for a contract

are satisfied.” Columbus Reg’l Hosp. v. United States, 990 F.3d 1330, 1338 (Fed. Cir. 2021); see

also San Juan City Coll. v. United States, 391 F.3d 1357, 1360-62 (Fed. Cir. 2004) (treating a

“Program Participation Agreement” and related grants under Higher Education Act as a contract).

The standard contract conditions—offer, acceptance, consideration, and authority to contract—are

all satisfied with respect to the NIH grants. Each grant consists of an offer (Notice of Funding

Opportunity and application); acceptance (approved grant application and Notice of Award);

consideration (funding to grantees; publication, licensing rights to NIH, see NIHGPS § 8.2.1; and

benefits to third-parties); and the authority to contract, see 42 U.S.C. §§ 241(a)(7), 284(b)(2). Even

where grants are intended to “carry out a public purpose authorized by law of the United States,”

and not to “acquire property or services for the Federal awarding agency,” 45 C.F.R. § 75.2, they

are considered contracts under the Tucker Act. See Thermalon Indus., Ltd. v. U.S., 34 Fed. Cl.

411, 416-19 (1995) (National Science Foundation grant designed to “carry out a public purpose”

instead of for direct benefit of United States constituted contract enforceable under Tucker Act).




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  Moreover, the statutes at issue here do not create entitlements for the Plaintiffs; they simply
require NIH to “encourage” certain things. 42 U.S.C. § 282(b)(8)(D)(ii). At most, they require
NIH to enter into grants to encourage those objectives, and any APA claim would have to allege
that the government failed to enter into any such agreement in the first place.
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           2. The Court lacks jurisdiction to order the relief that plaintiffs request because
              the United States has not waived sovereign immunity for specific performance
              of contracts.

       The Court also lacks jurisdiction to grant specific performance of the grant agreements the

Plaintiffs seek. The United States cannot be sued unless it waives sovereign immunity, and

Congress has not waived sovereign immunity for that relief. Block v. North Dakota, 461 U.S. 273,

287 (1983) (“[W]hen Congress attaches conditions to legislation waiving sovereign immunity of

the United States, those conditions must be strictly observed, and exceptions thereto are not to be

lightly implied.”); Coggeshall Dev. Corp. v. Diamond, 884 F.2d 1, 3-4 (1st Cir. 1989) (stating

“[w]e are unaware of any waiver of sovereign immunity by the United States as to specific

performance for breach of contract” and dismissing for lack of subject matter jurisdiction).

       Plaintiffs ask the Court to order NIH to “restore grants” and “refrain from freezing or

otherwise withholding NIH grant funding.” See, e.g., PI Prop. Order, Doc No. 37-1 at ¶¶ 6, 7, 11,

12. This would require the Court to order specific performance of those grant agreements by

paying the grants. See Ingersoll, 780 F.2d at 79-80 (finding request to order reinstatement of an

original contract award to be a request for specific performance). That Plaintiffs seek specific

performance is made evident by the Supreme Court’s description of the district court’s Order in

California — which provided the same relief that Plaintiffs now seek—as “require[ing] the

Government to pay out past-due grant obligations and to continue paying obligations as they

accrue.” 145 S. Ct. at 968. But, requiring specific performance by a government agency “is well

beyond the Court's power.” Imaginarium LLC v. U.S. Small Bus. Admin., 618 F. Supp. 3d 1225,

1232 (D. Utah 2022) (emphasis added) (citing Coggeshall, 884 F.2d at 3).




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           3. In cloaking their contract suit under the guise of an APA claim, plaintiffs
              would assert an impermissible programmatic challenge.

       By challenging the “still evolving” “Directives,” ECF No. 41 at 8, Plaintiffs broadly

challenge how NIH administers its program. They include, amongst those Directives, actions that

are moot or are not final agency actions. See Argument § V(A)(4). This broad programmatic

challenge to a series of individual agency decisions “cannot be laid before the court for wholesale

correction under the APA, simply because one of them that is ripe for review adversely affects one

of respondent’s members.” Lujan v. National Wildlife Federation. 497 U.S. 871, 890–93 (1990).

Requests for “wholesale improvement of this program” must be brought “in the offices of the

Department or the halls of Congress, where programmatic improvements are normally made.” Id

at 891. Plaintiffs complain that programmatic changes here are the result of the President’s

election, see ECF No. 41 at 1 (claiming that “Defendants began an unprecedented and ideologically

driven purge” “in January 2025”); but, as Lujan teaches, the APA does not allow plaintiffs to

challenge programmatic changes wrought by the outcome of an election. See 497 U.S. at 893.

       The decision in Alabama-Coushatta Tribe of Tex. v. United States, 757 F.3d 484 (5th Cir.

2014), is instructive. There, a Tribe sought to challenge the approval of all “drilling leases and

permits to third parties” on land to which the Tribe asserted title. Id. at 486. The Fifth Circuit held

that it lacked jurisdiction to hear such a “blanket challenge to all of the Government’s actions with

respect to all permits and leases” that was directed at “the way the Government administers these

programs and not to a particular and identifiable action taken by the Government.” Id. at 491–92.

       The programmatic nature of Plaintiffs’ § 706(1) “delay” challenge is made plain by their

comparison of the Agency’s overall grant processing progress under the current administration

with prior administrations. See ECF No. 41 at 11 (citing declaration of former director (Ex. 26)

comparing present administration’s management with past administration’s management). Indeed,

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plaintiffs do not even purport to identify all grant applications for which they allege unreasonable

delay, instead citing in a footnote the declaration of only two individuals claiming delays for grant

processing in a single grant program. See ECF No. 41 at 11 n.14.

       Plaintiffs’ § 706(2) claims also have the hallmarks of an impermissible programmatic

challenge: (1) Plaintiffs style their claims as being against “NIH Directives,” e.g., Compl., Doc

No. 1 at 30 & ¶ 103; ECF No. 37-1 at 2 ¶ 1; (2) they request that Court order NIH to “restore grants

. . . that NIH has terminated based on or as a result of the Directives,” PI Prop. Order, Doc No. 37-

1 ¶ 7; (3) and they seek to control future conduct of the agency in “actions yet to be taken.” Lujan,

497 U.S. at 893. For example, they request that the Court order that NIH shall “refrain from”: (1)

withdrawing Notices of Funding Opportunities issued by or on behalf of NIH”; (2) “withdrawing

[or] denying . . . NIH grant applications or grant renewal applications”; (3) “freezing or otherwise

withholding NIH grant funding”; and (4) “terminating NIH grants and grant programs.” PI Prop.

Order, Doc No. 37-1 ¶¶ 4-6, 11. But claims that “cover actions that have yet to occur . . . . do not

challenge specific ‘agency action.’” Alabama-Coushatta, 757 F.3d at 490.

       Plaintiffs’ claims are not saved by their identification of seven documents as among the

Directives, as well as “any nonpublic or undisclosed directives.”10 ECF No. 37-1 ¶ 1. Identifying

an array of challenged actions is typical of a programmatic challenge, and, as explained below, the

identified actions are not subject to judicial review under the APA. Nor does New York v. Trump,

33 F.4th 51, 57 (1st Cir. 2025), help Plaintiffs. There, plaintiffs challenged a temporary pause in

grant funding to all heads of executive departments and agencies in response to an OMB Directive.




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  Plaintiffs cannot state a claim based on any other nonpublic or undisclosed directives. The
United States cannot defend, and the court cannot review, unidentified agency action.

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Id. Unlike in New York, NIH has not categorically terminated all NIH grants, but rather only select

grants—disbursed by a single agency—that do not align with agency priorities.

           4. Plaintiffs’ challenge to NIH’s actions is not justiciable

       Even viewed individually, each of the Directives is either moot, unconnected to Plaintiffs’

alleged harms, or is not a final agency action. For these additional reasons, Plaintiffs’ have not

established jurisdiction to review any challenged action.

               a.     By its own terms, the February 13 memorandum, and any pause in review
                      of grant applications expired before plaintiffs sued.

       As the First Circuit explained, challenges “to government regulatory schemes which have

expired or been effectively repealed” are moot. Am. Civ. Liberties Union of Mass. v. U.S. Conf. of

Cath. Bishops, 705 F.3d 44, 53 (1st Cir. 2013). The February 13 memorandum entitled

“Supplemental Guidance to Memo Entitled – NIH Review of Agency Priorities Based on the New

Administration’s Goals,” ECF No. 38-12 (Exhibit 12), was expressly rescinded (twice). See

“Priorities Directive,” ECF No. 37-13 at 2 (“This staff guidance rescinds the guidance provided in

the February 13, 2025, memo”); see also “Revised Priorities Directive,” ECF No. 37-14 at 2

(same). Plaintiffs admit as much in their Complaint. See ECF No. 1 ¶ 92. Plaintiffs’ challenge of

the February 13 memorandum is thus moot.

       Moreover, Plaintiffs’ claims that NIH is failing to review or decide grant applications is

similarly moot. See ECF No. 41 at 31. As explained above, see supra n.4, n.5, any pause in

publication of any meeting notices in the Federal Register expired before plaintiffs sued. NIH is

working diligently to reschedule all cancelled meetings. See Lorsch Decl. ¶¶ 22, 24-27. Since

March 4, NIH has published over 150 notices of scheduled meetings in the Federal Register. Id.

¶ 24; see supra nn. 4, 5. And it has scheduled 245 more meetings from March 24 to May 31 than

it did in the previous year. See id. As of the end of May 2025, NIH will have held 100% of the

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 meetings that were impacted by any temporary pauses and reviewed 100% of all applications

 submitted for the impacted Cycle III Advisory Council cycle meetings. Lorsch Decl. ¶ 25.

                b.      Two other Directives did not harm Plaintiffs and instead facilitated actions
                        that plaintiffs seek.

        Two other Directives that Plaintiffs challenge did not cause Plaintiffs’ alleged injuries. To

 establish standing, plaintiffs must demonstrate that their alleged injury is “fairly traceable to the

 challenged action.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013). First, the February

 12, 2025 memorandum entitled “NIH Review of Agency Priorities Based on the New

 Administration’s Goals” (Exhibit 11) authorized grant managers “to proceed with issuing awards”

 in response to recent court orders. ECF No. 37-11. Plaintiffs’ alleged harms are unquestionably

 not traceable to this memorandum. Second, plaintiffs do not assert in any of their pleadings that

 grants have been cut pursuant to the alleged “directive issued by NIH that NIH funding shall not

 be made available to research related to the health effects of climate change.” Prop. PI Order, ECF

 No. 37-1 ¶ 1(g). See generally ECF Nos. 1, 41.11 Thus, Plaintiffs do not have standing.

                c.      The remaining Directives are not final agency actions subject to judicial
                        review under the APA.

        The remaining Directives are not final agency actions subject to judicial review and are

 instead interlocutory processes to review grants. The APA only permits review of “final agency

 action.” 5 U.S.C. § 704. To be final, the action must satisfy two conditions. First, it “must mark

 the consummation of the agency’s decision-making process.” Harper v. Werfel, 118 F.4th 100,

 116 (1st Cir. 2024) (quoting Bennett v. Spear, 520 U.S. 154, 178 (1997)). “Second, the action must



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   Plaintiffs allege that “UAW Pre-Member 6” studies “the replication of mechanisms of viral
 diseases spread by mosquitoes to identify targets for drug therapeutics” which has been
 “increased” by a “warming climate.” However, Plaintiffs further allege that UAW Pre-Member 6
 grant application had been terminated because they applied for a “F31 Diversity Fellowship.”
 ECF No. 1 ¶¶ 192-94.
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be one by which ‘rights or obligations have been determined,’ or from which ‘legal consequences

will flow.’” Id. (quoting Bennett, 520 U.S. at 178). The Directives fail both conditions.

       For the first condition, the First Circuit recently explained in Harper that “investigatory

measures are not final agency action,” because such measures are “tentative or interlocutory in

nature.” Id. (collecting cases). The opening of a review or investigation is a preliminary step,

“leading toward the possibility of a final action in the form of an enforcement or other action.” Id.

(quoting Univ. of Med. & Dentistry of N.J. v. Corrigan, 347 F.3d 57, 69 (3d Cir. 2003)). The final

agency action would occur when the agency decides to act on an existing grant.

       Here, the Directives merely ordered a review of the grants to determine whether they were

consistent with the agency’s priorities. See “Secretarial Directive on DEI-Related Funding,” ECF

No. 38-10 (Exhibit 10) at 2 (directing “a review of the overall contracts and grants to determine

whether those contracts or grants are . . . consistent with current policy priorities” and noting that,

“after review,” “such contracts may be terminated”); “Priority Directives,” ECF No. 38-13

(Exhibit 13) at 2 (directing NIH institutes and centers to “review the specific aims [and] assess

whether the proposed project contains any DEI research activities” before issuing any awards or

approving requests for carryover); “NIH Grants Management Staff Guidance – Award

Assessments for Alignment with Agency Priorities—March 2025,” ECF No. 38-14 (Exhibit 14)

at 2 (directing NIH institutes and centers to “review the specific aims/major goals of the project to

assess whether the proposed project contains any DEI, gender identity or other research activities

that are not an NIH/HHS priority/authority”). Initiating a review is not the consummation of the

agency’s decision-making process. Cf. Sackett v. EPA, 566 U.S. 120, 127 (2012) (finding final

agency action where a compliance order was “not subject to further Agency review”).

       Initiating an agency review also does not determine the grantees’ rights and obligations.

See FTC v. Standard Oil Co. of California, 449 U.S. 232, 241 (1980) (issuing a complaint and
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initiating enforcement proceedings did not have “definitive” legal consequences and was still

subject to challenge and review). Here, too, the Directives did not definitively affect any of

Plaintiffs’ or their members’ rights and obligations and remained subject to review.

       Additionally, the Directives’ procedural guidance does not qualify as agency action. The

Directives outline the process for staff to follow when renegotiating or terminating awards based

on the review results. See “Staff Guidance – Award Assessments for Alignment with Agency

Priorities—March 2025,” ECF No. 38-13 at 6–7 (detailing the steps to follow when issuing a

revised NOA for terminated grants and language to use in renegotiated awards); “Award Revision

Guidance and List of Terminated Grants via letter on 03/12,” ECF No. 38-18; “NIH Grants

Management Staff Guidance – Award Assessments for Alignment with Agency Priorities—March

2025,” ECF No. 38-14. Directing staff on the process to follow and language to use when

implementing a decision is not agency action. See Vill. of Bald Head Island v. U.S. Army Corp. of

Eng’rs, 714 F.3d 186, 193 (4th Cir. 2013) (“[o]perating a program” does not qualify as agency

action). This guidance remained subject to the decision to be made for each grant after review.

“Article III’s case-or-controversy requirement does not cover a challenge to the kind of intra-

governmental directives and policy planning implicated by the [Directives].” Nat’l Urban League

v. Trump, __ F. Supp. 3d __, 2025 WL 1275613, at *8 (D.D.C. May 2, 2025).

       The Directives’ procedural guidance was also interlocutory, not final. The procedural

guidance in the initial “Staff Guidance” Directive (ECF Nos. 38-13 (Exhibit 13)) was revised in

the Award Revision Guidance (ECF No. 38-18 (Exhibit 18)), which was again updated in the

revised Staff Guidance (ECF No. 38-14). Reinforcing that the staff guidance was tentative, the

Award Revision Guidance directed staff to “save this guidance until we can clear the updated staff

guidance.” ECF No. 38-18 at 2. This is not the stuff of final agency action.


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          This case is nothing like Biden v. Texas, where the agency directed personnel to take all

necessary actions to shut down an entire program. 597 U.S. 785, 808–09 (2022). At most, the

guidance here resembles the manual in Whitewater Draw Natural Resources Conservation District

v. Mayorkas, 5 F.4th 997, 1008 (9th Cir. 2021). There, the Ninth Circuit held a Department of

Homeland Security manual was not challengeable final agency action because it did “not prescribe

any particular option in any particular way” and “[a]ny guidance that could be attributed to the

Manual would be subsumed” in the subsequent action. So too with the Directives here.

          Because the Directives are either moot, unconnected to any alleged injuries, or not final

agency action, plaintiffs’ asserted claims based on the “Directives” are non-justiciable.12

             5. Congress committed grant administration to agency discretion.

          Plaintiffs’ claims are also unreviewable because they challenge funding decisions

“committed to agency discretion by law.” 5 U.S.C. § 701(a)(2). The “allocation of funds” is an

“administrative decision traditionally regarded as committed to agency discretion.” Lincoln v.

Vigil, 508 U.S. 182, 192 (1993). “[A]s long as the agency allocates funds from a lump-sum

appropriation to meet permissible statutory objectives, § 701(a)(2) gives the courts no leave to

intrude.” Id. at 193. These principles are not limited to lump-sum appropriations; § 701(a)(2) bars

review when an appropriation confers discretion on the agency. Milk Train, Inc. v. Veneman, 310

F.3d 747, 751-52 (D.C. Cir. 2002). NIH actions to terminate existing grants or award future grants

are unreviewable.

          That is precisely what has happened here. Congress has made lump sum appropriations to

the agency to meet broad statutory objectives and has conferred considerable agency discretion

about how to accomplish that task. Plaintiffs’ assertion that “meaningful standards in statute and



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     For the same reasons, Plaintiffs are not likely to succeed on the merits of their APA Claims.
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regulation cabin agency discretion here,” ECF No. 41 at 22 (cleaned up), cannot overcome the

discretion conferred by Congress. Congress granted NIH broad discretion when awarding grants

and provided no “circumscribing [the] agency’s power to discriminate among issues or cases it

will pursue.” Holbrook v. Tennessee Valley Auth., 48 F.4th 282, 293 (4th Cir. 2022) (quoting

Heckler v. Chaney, 470 U.S. 821, 833 (1985)). Unlike the constraints placed on the Secretary of

Commerce in the Census Act at issue in Dep’t of Commerce v. New York, 588 U.S. 752 (2019),

Congress has not dictated the “form and content” by which NIH must accomplish its statutory

objectives. See, e.g., 42 U.S.C. §§ 241(a)(3) (“[T]he [HHS] Secretary is authorized to make

grants-in-aid”) (emphasis added); 282(b)(11)(B)(“[T]he [HHS] Secretary, acting through the

Director of NIH . . . may conduct and support research training”) (emphasis added); 284(b)(1)(D)

(Director each research institute “may conduct and support research training”) (emphasis added);

284(b)(2) (“Support for an activity or program under this subsection may be provided through

grants, contracts, and cooperative agreements.”) (emphasis added); 284(b)(2)(A)–(B) (providing

that the agency “may enter into a contract for research” and “may make grants and cooperative

agreements . . . for research [and] training”) (emphasis added).

       NIH is not statutorily required to enter into any grant agreements. The Secretary of HHS,

acting through the Director of NIH, is authorized to “conduct[] priority-setting reviews to ensure

that the research portfolio of the National Institutes of Health is balanced and free of unnecessary

duplication.” 42 U.S.C. § 282(b)(3). As in Lincoln, Congress gave NIH “the capacity to adapt to

changing circumstances and meet its statutory responsibilities in what it sees as the most effective

or desirable way,” 508 U.S. at 192. NIH’s discretionary spending decisions are thus unreviewable

by this Court.




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            6. The organizational Plaintiffs Do Not Have Standing

        To establish Article III standing, a plaintiff must demonstrate that it (1) suffered an injury

in fact; (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely

to be redressed by a favorable judicial decision. See Lujan, 504 U.S. at 560-61. Each element of

standing “must be supported in the same way as any other matter on which the plaintiff bears the

burden of proof, i.e., with the manner and degree of evidence required at the successive stages of

litigation.” Dubois v. U.S. Dep’t of Agriculture, 102 F.3d 1273, 1281-82 (1st Cir. 1996). Each

plaintiff must demonstrate its own Article III standing, as “Article III does not give federal courts

the power to order relief to any uninjured plaintiff, class action or not.” Tyson Foods, Inc. v.

Bouaphakeo, 577 U.S. 442, 466 (2016). And each plaintiff must also maintain its personal interest

in the dispute at all stages of litigation. See Davis v. Federal Election Comm’n, 554 U.S. 724, 733

(2008). Finally, each plaintiff must demonstrate standing for each claim that it presses against each

defendant, and for each form of relief that it seeks. Murthy v. Missouri, 603 U.S. 43, 61 (2024)

(quoting TransUnion v. Ramirez. 594 U.S. 413, 431 (2021)).

        The organizational Plaintiffs in this case—APHA and UAW—rely on “associational

standing.” Under that theory, an association has standing to bring suit on behalf of its members

when “(a) its members would otherwise have standing to sue in their own right; (b) the interests it

seeks to protect are germane to the organization’s purpose; and (c) neither the claims asserted nor

the relief requested requires the participation of individual members in the lawsuit.” Hunt v. Wash.

State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). As shown by the sheer number of

declarations submitted by the organizational Plaintiffs’ members in an attempt to show irreparable

harm, Plaintiffs fail the third requirement: Individual members must participate to show

entitlement to injunctive relief—particularly if this Court follows the proper practice of limiting

any injunction to those that have shown that the Directives will cause them irreparable harm. See
                                                  21
infra at Argument § 5(D). Moreover, nothing in Plaintiffs’ Complaint (ECF No. 1) or in their PI

motion establish that the interests that organizational Plaintiffs seeks to protect are germane to

their purpose. See id.13

       More fundamentally, the theory of associational standing improperly “relaxes both the

injury and redressability requirements for Article III standing” by allowing the association to assert

and obtain relief for someone else’s injury (even in the absence of an injury of its own); “subverts

the class action mechanism”; and creates the “possibility of asymmetrical preclusion,” where the

members might not be bound by the association’s loss in litigation. See FDA v. Alliance for

Hippocratic Medicine, 602 U.S. 367, 399-403 (2024) (Thomas, J., concurring). Thus, while

Defendants acknowledge that the Supreme Court has recognized the theory of associational

standing, they preserve their challenge to the theory of associational standing for further review.

B.     Plaintiffs are unlikely to succeed on the merits.

           1. Plaintiffs’ 706(2) claims fail because NIH followed the law and provided
              sufficient reasons when it terminated the grants.

               a.      The terminations complied with the terms of the agreements and the
                       regulations.

       Although framing it as a challenge to Defendants’ “statutory jurisdiction, authority, or

limitations,” the crux of Plaintiffs’ argument is that the agency’s reasons for grant termination

violates the grant agreement’s terms and HHS regulations. See ECF No. 41 at 26-29. Not so.

Plaintiffs ignore that the contract terms that they and their members agreed to allow Defendants to

terminate grants if the “award no longer effectuates the program goals or agency priorities.” 2



13
   This is particularly so with respect to the UAW, a labor union aimed at improving working
conditions for its members. See Article 2, Objects, “Constitution of the International Union,
United Automobile, Aerospace and Agricultural Implement Workers of America, UAW,”
available at https://uaw.org/wp-content/uploads/2024/06/Updated-2022-Constitution-6-7-24-
1.pdf (last accessed, May 8, 2025)
                                                 22
C.F.R. § 200.340. The Notice of Award for each grant explains that it “is subject to the terms and

conditions incorporated either directly or by reference in the . . . NIH Grants Policy Statement.”

See, e.g., ECF No. 38-19 at 20 § III(d). Section 8.5.2 of the NIHGPS explicitly states that “NIH

may also terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.” NIHGPS at

IIA-155 (2024). That regulation allows the agency to terminate an award in whole or in part “if an

award no longer effectuates the program goals or agency priorities.” 2 C.F.R. § 200.340(a)(4).

       Plaintiffs’ argument that section 200.340 is only “guidance” instead of an HHS regulation

ignores that the provision was expressly incorporated into the grant agreement. This is entirely

consistent with the regulations. Section 75.372(a) lists four grounds upon which an award “may”

be terminated. It does not say that an award may be terminated “only” or “exclusively” on those

grounds. See 45 C.F.R. § 75.372(a); see Carlson v. United States, 837 F.3d 753, 765 (7th Cir.

2016) (holding that an enumerated list of exceptions in the rules was not exclusive because the

rule “uses the word ‘may,’ which ‘usually implies some degree of discretion.’”) (quoting United

States v. Rodgers, 461 U.S. 677, 706 (1983)). The fact that 2 C.F.R. § 200.340 is not yet adopted

by HHS does not prevent the parties to a grant agreement from contracting to additional terms.14

       Plaintiffs also misread section 8.5.2 of the NIHGPS when they contend that it authorizes

terminating a grant only if a recipient has failed to comply with the award’s terms and conditions.



14
   In fact, it was two professional university associations that encouraged NIH to adopt OMB’s
2020 revisions to 2 C.F.R. § 200 to align with other research agencies in an effort to reduce
administrative burden on entities. OMB added § 200.340(a)(4) in 2020 to strengthen the ability of
the Federal awarding agency to terminate Federal awards without breaching them, to the greatest
extent authorized by law, when the Federal award no longer effectuates the program goals or
Federal awarding agency priorities. 85 Fed. Reg. 49506-01, 49507 (Aug 13, 2020). After OMB
issued revisions to 2 C.F.R. § 200 in 2020, the two professional university associations asked NIH
to adopt the 2020 revisions to align with other research agencies. NIH did just that by incorporating
part 200, including § 200.340 specifically, into the NIHGPS, which is itself incorporated into every
NIH grant. Id.

                                                 23
ECF No. 41 at 28. The plain language of the policy says otherwise. The first sentence of section

8.5.2 states that “NIH may take one or more enforcement actions . . . [i]f a recipient has failed to

comply with the terms and conditions of award.” NIHGPS at IIA-155 (2024). The next sentence

states that “NIH may also terminate the grant in whole or in part as outlined in 2 CFR Part

200.340.” Id. (emphasis added). The Plaintiffs’ argument that the citation to 2 C.F.R. § 200.340 is

only triggered by, or somehow modifies, the first sentence of section 8.5.2 is inconsistent with a

plain meaning of the word “also.”

       Here, consistent with the terms and conditions of the grants, NIH terminated a small subset

of grants that no longer effectuates agency priorities. NIH issued termination notices that provided

its causes for termination, including the change in agency priorities and grant-specific causes for

termination. See, e.g., ECF No. 38-33 at 56 (identifying why this specific grant “no longer

effectuates agency priorities,” does “not enhance health, lengthen life, or reduce illness,” and may

“support unlawful discrimination.”) Thus, these terminations were terminated pursuant to the

grants’ own terms.

               b.      The grant terminations were adequately reasoned.

       Even if the grant terminations were reviewable under the APA, which they should not be,

they would be sustained under the APA standard. The scope of review under the “arbitrary and

capricious” standard, 5 U.S.C. § 706(2)(A), is “narrow and a court is not to substitute its judgment

for that of the agency.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

43 (1983). Rather, the standard “deems the agency action presumptively valid provided the action

meets a minimum rationality standard.” Sierra Club v. EPA, 353 F.3d 976, 978 (D.C. Cir. 2004)

(citation omitted). As a result, a court must “uphold a decision of less than ideal clarity if the

agency’s path may reasonably be discerned.” FCC v. Fox Television Stations, Inc., 556 U.S. 502,

513-14 (2009) (quotation marks and citation omitted). The terminations clear these hurdles.
                                                24
        In terminating individual grants, NIH did more than simply state that the grants “no longer

effectuate [] agency priorities.” Rather, NIH provided the reasons for its terminations, the authority

under which it was terminating those grants, and the grantee’s appeal rights. The fact that the

reason for those terminations applied to multiple grants does not make that reason any less salient.

Where that reason was a change in agency priorities, a change in administration “is a perfectly

reasonable basis for an executive agency’s reappraisal of the costs and benefits of its programs,”

Motor Vehicle Mfrs. Ass’n, 463 U.S. at 59 (Rehnquist, J., concurring in part, dissenting in part).

“As long as the agency remains within the bounds established by Congress, it is entitled to assess

administrative records and evaluate priorities in light of the philosophy of the administration.” Id.

Plaintiffs’ critique of and disagreement with the stated rationale misses the point. The notices

properly stated the reasons for termination and the only available remedy is remand back to NIH

for follow up, not an injunction requiring specific performance.

        Plaintiffs’ contention that the terminations “cite no project-specific information or data to

explain why each project no longer ‘effectuates agency priorities,” ECF No. 41 at 23, ignores the

specific reasoning spelled out in each and every termination letter. See, e.g., ECF Nos. 38-20 at

50, 38-24 at 37, 38-28 at 146, 38-32 at 34; 38-33 at 56. Although Plaintiffs’ may disagree with the

agency’s new priorities, the agency “need not demonstrate . . . that the reasons for the new policy

are better than the reasons for the old one; it suffices that the new policy is permissible . . . , that

there is good reasons for it, and that the agency believes it to be better.” Fox Television, 566 U.S.

at 515. The reasoning provided in each grant termination adequately displayed awareness that the

agency was changing position by noting that the terminated grant award “no longer effectuates

agency priorities,” provided a grant-specific basis for why that termination did not advance the




                                                  25
agency’s priorities and explained why it was no longer NIH’s policy to prioritize that research

program.15 This is all that is required under the APA. See id.

       Plaintiffs’ reliance-interest argument fails for two different reasons. First, Plaintiffs and

their members have no legally protectible reliance interests in grants that they have not yet been

awarded. See Nat’l Org. of Veterans’ Advocs., Inc. v. Sec’y of Veterans Affs., 927 F.3d 1263, 1269

n.4 (Fed. Cir. 2019) (holding amendment to Veterans Affairs’ regulations “[did] not defeat

veterans’ reliance interests” because the amendment “applied only prospectively”). And even as

to now-terminated grants, Plaintiffs’ invocation of reliance interests is unavailing because NIH

necessarily understood and considered that it was terminating funding on which the grantee relied

to conduct research when it terminated the grant for that research. Plaintiffs may not like the

agency’s conclusion that Plaintiffs’ and their members’ interests were outweighed by the agency’s

responsibilities and priorities, but Plaintiffs cannot substitute their judgment for the agency’s. See

Am. Petro. Inst. v. U.S. Dep’t of Interior, 81 F.4th 1048, 1066 (10th Cir. 2023) (“Though an agency

must adequately consider any ‘legitimate reliance’ on an existing policy, such reliance is not

‘necessarily dispositive’ to the agency’s decision”; “an agency may conclude, for instance, that

reliance interests were ‘entitled to no or diminished weight’ or outweighed by ‘other interests and

policy concerns”) (quoting U.S. Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S.

1, 32 (2020)); Calixto v. Walsh, No. 19-1853, 2022 WL 4446383, at *16 (D.D.C. Sep. 23, 2022)

(“Even if the agency considers the reliance interests to be serious, it my nonetheless determine that




15
   Plaintiffs rely on totem-pole hearsay to suggest that an employee of the Department of
Government Efficiency (“DOGE”) directed the agency’s changed priorities and authored the
termination letters. See ECF No. 41 (citing ECF No. 38-17 at 2). Each letter, however, is signed
by an NIH official, and Plaintiffs’ own exhibits demonstrate that the agency’s priorities are
designed to align with a democratically elected administration. See ECF No. 38-10 through ECF
No. 38-14.
                                                 26
other interests and policy concerns outweigh any reliance interests.”) (cleaned up). Where NIH

decided to terminate a grant that was funding research, Plaintiffs’ or their members’ reliance on

that research funding cannot compel NIH to maintain the grant.

               c.      The grant terminations were consistent with the relevant statutes.

       Statutes do not prevent HHS from exercising its discretion to identify agency priorities and

terminate grants that do not effectuate those priorities. Plaintiffs argue that the termination of

grants is contrary to various statutes that direct HHS or NIH to support research into certain

minority-related topics. ECF No. 41 at 18-21, 25-26. Plaintiffs also argue that deciding DEI

projects are not an agency priority is contrary to a statute providing for the establishment of a

strategic plan every six years. Id. at 25-26. Both arguments fail.16

       First, Plaintiffs wrongly presume that their terminated grants are the only research grants

on these topics. On the contrary, entirely consistent with the statutes directing HHS and NIH to

support research into certain minority-related topics, see 42 U.S.C. §§ 282(h), 283p, 285a-6, 285b-

7a(c)(1), 285t(a), NIH is continuing at least 25 research grants on these topics. Lorsch Decl. ¶ 15

& Ex. A (listing minority-related grants that were preserved).17 NIH exercised its discretion to

terminate DEI grants that it determined did not promote health, while preserving grants into health

disparities. Similarly, NIH maintained over 5,170 Kirschstein-NRSA grants, consistent with their

obligations under 42 U.S.C. § 288(a)(4), see Lorsch Decl. ¶ 34 & Ex. B (active NRSA grants),

which “support the training and development of a diverse corp of health science researchers.” See




16
   Plaintiffs make a third statutory argument related to appropriations, which is addressed in
section II.C., supra. In short, NIH has continued to issue awards and intends to reallocate the
appropriated funds to grants that align with the agency’s priorities.
17
 Those grants are publicly available https://reporter.nih.gov/search/s2chZVOP-
0Wi9TkGeyYICA/project-details/11124106
                                                27
ECF No. 38-27 at ¶ 18. Amongst these active NSRA grants are “Developing a Diverse Next

Generation of Leaders in Respiratory Science,” “Research on Eating and Activity for Community

Health (REACH): An Applied Epidemiology Training Program to Improve Weight-Related

Health in Youth and Families from Diverse Communities,” “Diverse Predoctoral Training in

Genetics,” and “Diverse & Equitable Student Inclusion in Research for future VETerinarians

(DESIRe-Vet).” See Lorsch. Decl. Ex. B. And, as Plaintiffs also acknowledge, NIH continues to

issue Notice of Funding Opportunities for some of the NRSA programs that Plaintiffs contend

were terminated (T32, T35, F32),18 and is in the process of reissuing Notice of Funding

Opportunities for additional NRSA programs. Lorsch Decl. ¶ 33.

          Defendants’ action is not only consistent with the statutes that Plaintiffs cite, which do not

require NIH to approve and preserve every grant or proposal that in any way relates to minorities,

but furthers the statutes’ aims. NIH is supporting research on minority-related projects and the

recruitment of researchers from disadvantaged backgrounds. The statutes permit NIH discretion

to decide which grants among these categories are worthy of approving and renewing to effectuate

those goals.

          Second, NIH has fully complied with the statutory directive to develop a Strategic Plan.

Section 282(m)(1) directs NIH to develop a “National Institutes of Health Strategic Plan” every

six years. 42 U.S.C. § 282(m)(1). NIH has done precisely that, and most recently published a

Strategic Plan in compliance with the statute in 2021. NAT’L INSTS. OF HEALTH, NIH-WIDE

STRATEGIC PLAN (2021). But such plans are aspirational. Nothing in the statute suggests that

Congress intended the Strategic Plan to be a six-year straight jacket that prevents NIH from shifting

priorities in the interim.



18
     https://grants.nih.gov/funding/nih-guide-for-grants-and-contracts/parent-announcements
                                                  28
           2. Plaintiffs’ due process challenge (Count IV) fails at the threshold and on the
              merits

       To begin with, the void-for-vagueness doctrine “guarantees that ordinary people have ‘fair

notice’ of the conduct a statute proscribes.” Sessions v. Dimaya, 584 U.S. 148, 155-56 (2018)

(plurality) (emphasis added). Although courts have applied this doctrine outside of the statutory

context, they have done so only with respect to regulations of primary conduct. See, e.g., FCC v.

Fox Television Stations, Inc., 567 U.S. 239, 253 (2012) (“A fundamental principal in our legal

system is that laws which regulate persons or entities must give fair notice of conduct that is

forbidden or required.”) (emphasis added) (citations omitted). There is good reason for the

doctrine’s limited reach. The Due Process Clause prohibits uneven enforcement, and ensures

notice, of requirements with which the public must comply. Grayned v. City of Rockford, 408 U.S.

104, 108 (1972). But here, the Directives do not regulate conduct but instead direct the agency to

conduct a review, after which the agency will make decisions about what agreements it chooses to

fund or terminate. The directions neither require nor prohibit any actions from grantees.

       Plaintiffs’ challenge suffers from yet another threshold flaw: it is facial in nature. The

appropriate posture for Due Process vagueness challenges is as-applied. That is because

“[o]bjections to vagueness under the Due Process Clause rest on the lack of notice, and hence may

be overcome in any specific case where reasonable persons would know that their conduct is at

risk.” Maynard v. Cartwright, 486 U.S. 356, 361 (1988); see also Carman, 112 F.4th at 402

(noting that plaintiffs were unable to identify “a case when a preenforcement-facial-vagueness

challenge was ripe, presumably because such cases benefit from factual development and

applications of statutory provisions to particular scenarios”). Plaintiffs’ facial challenge to an

agency’s Directives to its employees demands a stunning expansion of the doctrine. See Nat’l

Urban League v. Trump, __ F. Supp. 3d __, 2025 WL 1275613, at *15 & n.8 (D.D.C. May 2,

                                                29
2025) (noting inappropriate nature of facial challenges to agency directives). Plaintiffs’ theory also

raises serious separation-of-powers concerns by allowing courts to engage in searching judicial

review of all agency policy directives, which by their nature, often necessarily outline policy

initiatives and priorities in broad terms.

        Plaintiffs’ claim also fails on the merits. First, Plaintiffs fail to establish that they have

either a liberty or property purported contracts/grants that is protected by the Due Process Clause.

While the Supreme Court has identified a narrow set of government benefits protected under the

Due Process Clause, it has not extended this protection to “‘ordinary’ or ‘routine’ government

contracts.” Gizzo v. Ben-Habib, 44 F. Supp. 3d 374, 385 (S.D.N.Y. 2014); see also Redondo-

Borges v. U.S. Dep’t of Hous. & Urb. Dev., 421 F.3d 1, 10 (1st Cir. 2005) (“We have held with a

regularity bordering on the echolalic that a simple breach of contract does not amount to an

unconstitutional deprivation of property.”); see also Nat’l Urban League, 2025 WL 1275613, at *

18 (“Plaintiffs offer no reason to think their contracts and grants . . . are different from the millions

of government contracts in effect at any point in time to which courts seldom apply due-process

principles.”) (cleaned up).

        Second, Plaintiffs improperly invoke the vagueness standard that pertains to government

enforcement actions. But, in Nat’l Endowment for the Arts v. Finley, the Supreme Court rejected

the application of that demanding vagueness standard in the context of government funding

decisions. See 524 U.S. 569, 588-89 (1998) (“The terms of the provision are undeniably opaque,

and if they appeared in a criminal statute or regulatory scheme, they could raise substantial

vagueness concerns. . . . But when the Government is acting as patron rather than as sovereign, the

consequences of imprecision are not constitutionally severe.”). 524 U.S. 569 Id. at 589; see also

id. (cautioning that “[t]o accept [plaintiffs’] vagueness argument would be to call into question the

constitutionality of . . . valuable Government programs and countless others like them” that
                                                   30
“award[] scholarships and grants on the basis of subjective criteria such as ‘excellence’”); Nat’l

Urban League, 2025 WL 1275613, at *18-*19 (refusing to apply more demanding vagueness

standards to government funding directives).

            3. Plaintiffs’ “delay” claims under § 706(1) are unlikely to succeed because
               plaintiffs have not identified a discrete and mandatory agency action that the
               agency failed to take.

        Plaintiffs’ claim to compel action on pending applications cannot succeed because APA

section 706(1) does not permit broad challenges to program management, plaintiffs identify no

discrete and mandatory agency action that the agency failed to take, and in any event the agency

is taking the very actions that plaintiffs seek to compel. “[I]n an APA challenge to federal agency

inaction it must be shown that [the agency] ‘failed to take a discrete agency action that it is required

to take.’” Scarborough Citizens Protecting Res. v. U.S. Fish & Wildlife Serv., 674 F.3d 97, 99 (1st

Cir. 2012) (quoting Norton v. S. Utah Wilderness All., 542 U.S. 55, 64 (2004)). Plaintiffs’ effort

to compel the agency to comply with prior “norms” fails because—as explained above—the

Supreme Court prohibits programmatic delay claims like the ones asserted here. See Norton, 542

U.S. at 64; Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 893 (1990).

        Plaintiffs cite four statutory or regulatory provisions, but their reliance is both insufficient

and factually wrong. Each provision they cite is not discrete, not mandatory, and not an action that

the agency has failed to take. Indeed, plaintiffs’ flawed contention on delay relies on a brief pause

that NIH took on processes following the change in administrations. But that pause is over: NIH

has resumed reviewing and deciding applications and holding the meetings that plaintiffs presently

seek to compel.




                                                  31
               a.      Plaintiffs have not identified a discrete and mandatory agency action that
                       the agency failed to take.

       Plaintiffs’ “delay” claim is not justiciable under the APA because they have not shown the

agency failed to a take a discrete and mandatory agency action that it was required to take.

Plaintiffs assert that NIH was required to (1) hold study section meetings, (2) hold advisory council

meetings, and (3) issue final decision on grant applications. Plaintiffs’ first two targets—holding

meetings—are not discrete “agency actions” that can be compelled under the APA. The third is

neither discrete nor mandatory under the regulations.

       Holding meetings is part of the NIH’s “common business of managing government

programs,” and is not itself a discrete agency action that can be compelled. See Funds for Animals,

Inc. v. U.S. Bureau of Land Mgmt., 460 F.3d 13, 19-20 (D.C. Cir. 2006) (“Much of what an agency

does is in anticipation of agency action.”). As the Supreme Court explained in Norton, a failure to

act under § 706(1) is “properly understood as a failure to take an agency action—that is, a failure

to take one of the agency actions (including their equivalents) earlier defined in § 551(13).” 542

U.S. at 62. That earlier APA section, 5 U.S.C. § 551(13), defines “agency action” as “the whole

or a part of an agency rule, order, license, sanction, relief, or the equivalent or denial thereof, or

failure to act.” Holding meetings—even meetings established by statute—fall well outside this

definition. “The prospect of pervasive oversight by federal courts over the manner and pace of

agency compliance with such congressional directives is not contemplated by the APA.” Norton,

542 U.S. at 67. Thus, the APA does not allow the Court to compel the pace of NIH’s meetings.

       Notwithstanding use of the word “shall,” the agency retains the discretion to “defer”

deciding on any grant application. See 42 C.F.R. § 52.5(b). No statute or regulation mandates a

decision, and thus plaintiffs cannot compel such a decision on their desired timeline. And NIH’s

discretion to make such a decision is not reviewable by the Court. Similarly, because the regulation

                                                 32
maintains the agency’s option to defer a decision, it does not require an action that is “discrete.”

In any event, NIH resumed both peer review and advisory council meetings before plaintiffs sued,

has been evaluating grant applications at a rapid pace, and has caught up with their application

review after the pause when compared to prior years. Lorsch Decl. ¶¶ 22, 24-27.

               b.      NIH is already holding the meetings that Plaintiffs seek to compel.

       Because NIH has been conducting all necessary steps in the review and disposition of grant

applications, Plaintiffs cannot obtain an order requiring NIH to resume those steps (or any of the

variations of the same in their Proposed Order, see ECF No. 37-1). Defendants resumed holding

meetings and taking all procedural steps needed to issue awards even before plaintiffs sued. Lorsch

Decl. ¶ 22. NIH canceled previously scheduled meetings and did not schedule new meetings based

on the January 21, 2025, temporary freeze, but resumed holding all meetings by March 18, 2025.

See supra nn.4, 5; see also Lorsch Decl. ¶¶ 22, 24. By the time plaintiffs filed suit, there was not,

and is not currently, any active policy preventing NIH from scheduling peer reviews. Lorsch Decl.

¶ 22. Since the pause expired, NIH has or will manage over 300 peer reviews, more than either of

the last two years, see supra n.4, and is on track to hold at least the three advisory council meetings

this fiscal year required by 42 U.S.C. § 284a(e), see supra n.5; Lorsch Decl. ¶¶ 24-26.

       Moreover, short pauses as part of changes in administration are reasonable and do not

warrant an injunction. See, e.g., Alaska Indus. Dev. & Exp. Auth. v. Biden, 685 F. Supp. 3d 813,

858 (D. Alaska 2023). A short pause of a few weeks during an administration transition hardly

constitutes an “unreasonable delay,” particularly in the absence of any regulation mandating an

immediate decision on any particular grant application. Certainly, there is no basis to enjoin a short

pause after it has ended. Am. Ass’n of Retired Persons v. E.E.O.C., 823 F.2d 600, 604-05 (D.C.

Cir. 1987) (finding 706(1) claim moot once the agency took the ostensibly unreasonably delayed



                                                  33
action). Plaintiffs’ failure to file suit during this pause, and to instead wait until any pause has

terminated, provides further proof that this short pause was reasonable.

       Enjoining differences in program management as “unreasonable” based on a short snapshot

is precisely what the Supreme Court prohibits: “The prospect of pervasive oversight by federal

courts over the manner and pace of agency compliance with [broad statutory mandates] is not

contemplated by the APA.” Norton, 542 U.S. at 55.

           4. The Amended Complaint asserts no viable separation of powers claim.

       Plaintiffs’ separation-of-powers argument fails for additional independent reasons. First,

the Executive has both express and implied authority to terminate individual grants. Second,

plaintiffs’ separation-of-powers argument fundamentally misrepresents the impact of the grant

terminations and delayed and cancelled meetings.

       Congress explicitly authorized NIH to take the challenged actions. “[W]hen the President

acts pursuant to an express or implied authorization of Congress, his authority is at its maximum,

for it includes all that he possesses in his own right plus all that Congress can delegate.” Zivotofsky

ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 10 (2015). Congress specifically charges the Secretary of

HHS, through the Director of NIH, with responsibility “for the overall direction of the National

Institutes of Health and for the establishment and implementation of general polices respecting the

management and operation of programs and activities within the National Institutes of Health.” 42

U.S.C. § 282(b)(1). The Director of NIH also “shall, in consultation with the heads of the national

research institutes and national centers, be responsible for program coordination across the national

research institutes and national centers, including conducting priority-setting reviews, to ensure

that the research portfolio of the National Institutes of Health is balanced.” 42 U.S.C. § 282(b)(3).

Taken together these two provisions explicitly authorize the Director of NIH to wield significant

discretion in setting NIH’s priorities, scheduling meetings, and terminating grants.
                                                 34
       The Executive also has implicit authority to terminate grants because Congress authorized

NIH to make grant awards and left the design, implementation, and administration of those grants

to NIH’s discretion, see 42 U.S. Code § 241(a)(3). Indeed, the appropriation for each institute of

NIH is breathtakingly capacious. See, e.g., H.R. 2882, 118th Cong. (2024) (appropriating funds to

the National Cancer Institute “[f]or carrying out section 301 and title IV of the PHS Act.”).

Congress knows how to write laws that constrain Executive Branch discretion, including laws that

mandate inclusion of terms in agency contracts. Am. Tel. and Tel. Co. v. United States, 124 F.3d

1471, 1478 (Fed. Cir. 1997), aff’d, 307 F.3d 1374 (Fed. Cir. 2002). Congress did not do so here.

See Brendsel v. Off. of Fed. Hous. Enter. Oversight, 339 F. Supp. 2d 52, 65 (D.D.C. 2004)

(Congress’ “silence is controlling”). Because Congress empowered the NIH to administer grants

and did not cabin its discretion to terminate grants, no separation of powers concern exists.

       Furthermore, as previously noted NIH is working diligently to reschedule all cancelled

meetings after a brief pause to allow the new administration to get its bearings. See supra nn. 4, 5;

Lorsch Decl. ¶¶ 24-27. Since March 4, NIH has published over 150 notices of scheduled meetings

in the Federal Register and will have completed 100% of its Cycle III peer review meetings by the

end of May 2025. See supra nn. 4, 5; Lorsch Decl. ¶¶ 24, 25. And it has scheduled 245 more

meetings from March 24 to May 31 than it did in the previous year. See Lorsch Decl. ¶ 24. Far

from subverting Congress’ intent by holding back appropriated funding, NIH is working overtime

to boost the grant approval process. By the end of May 2025, NIH will have reviewed 100% of all

applications impacted by the pause. Id. ¶ 25.

       Finally, Plaintiffs would like the Court to believe that all Congressionally mandated

Kirschstein-NRSA grants were terminated. This is factually incorrect. NIH continues to fund more

than 5,170 of these grants, which satisfies any requirements of 42 U.S.C. § 288(a)(4). Lorsch Dec.

¶¶ 34 & Ex. B. NIH continues to publish Notice of Funding Opportunities for, and award, NRSA
                                                 35
grants, and is in the process of reissuing Notice of Funding Opportunities for additional NRSA

programs. Id. ¶¶ 31-34 & Ex. B. Similarly, NIH continues to fund research that fulfills its

obligation to address health disparities, consistent with its agency discretion to discern how best

to do so. See id. ¶ 15 & Ex. A.

C.     Plaintiffs’ Alleged Harms are Not Certain, Imminent, and Irreparable.
           1. Plaintiffs’ alleged harm is not irreparable

       Plaintiffs have shown that they or their members will suffer irreparable harm in the absence

of a preliminary injunction. See EEOC v. Astra USA, Inc., 94 F.3d 738, 743 (1st Cir. 1996). In

considering whether plaintiffs have met their “exceedingly high burden,” the Court should not

consider plaintiffs in the collective. Instead, each Plaintiff, as well as each grantee—must on its

own, make a clear showing of irreparable harm. See, e.g., Adams v. Freedom Forge Corp., 204

F.3d 475, 485-86 (3d Cir. 2000) (partially vacating a preliminary injunction because “[i]nstead of

making a case-by-case determination that each plaintiff demonstrated irreparable harm . . ., the

court dealt with the plaintiffs as a unit and concluded that because several of them probably risked

irreparable harm, that was sufficient to satisfy the prong of the preliminary injunction test.”).

Plaintiffs’ (and their members) circumstances vary significantly, and no relief may be ordered

unless each Plaintiff meets this burden. See Tamko Roofing Prods., Inc. v. Ideal Roofing Co., 282

F.3d 23, 40 (1st Cir. 2002).

       Variation exists not just on a Plaintiff-by-Plaintiff and grant-by-grant basis. Plaintiffs have

not identified all specific grant terminations they ask this Court to reverse. Despite identifying

some allegedly impacted grants in their declarations, Plaintiffs do not identify the universe of grant

terminations they are challenging. This ambiguity alone disfavors any preliminary injunctive relief

when many of the terminations fall far short of meeting the standard for irreparable harm.



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       Plaintiffs also fail to establish irreparable harm as to the grant terminations and delays for

three additional reasons. First, plaintiffs’ primary claimed injury is the delayed payment of

money—a standard part of litigation and quintessential example of what never counts as

irreparable injury. Sampson v. Murray, 415 U.S. 61, 90 (1974) (“temporary loss of income,

ultimately to be recovered, does not usually constitute irreparable injury.”). In terminating

plaintiffs’ grants, NIH has not prohibited or made it unlawful for plaintiffs to carry out their work;

NIH has just used its lawful discretion not to fund that work. See e.g., Faculty Senate of Fla. Int’l

Univ. v. Winn, 477 F. Supp. 2d 1198, 1208 (S.D. Fla. 2007) (“There is no irreparable harm here

because the plaintiffs can fund the desired travel themselves and then, if they prevail in this suit,

obtain reimbursement. In other words, the harm is financial.”). As Plaintiffs note, Plaintiffs may

secure alternative sources of funding to continue their research.

       Second, a plaintiff seeking preliminary relief must demonstrate that irreparable injury is

likely absent an injunction. See Charlesbank Equity Fund II v. Blinds To Go, Inc., 370 F.3d 151,

162 (1st Cir. 2004); see also Winter, 555 U.S. at 22 (issuing a preliminary injunction “based only

on a possibility of irreparable harm” would be “inconsistent” with treating a preliminary injunction

as an “extraordinary remedy”). Here, Plaintiffs’ declarations are rife with speculative language

that is patently insufficient to support a finding of irreparable harm. See, e.g., ECF Nos. 38-19 ¶

53 (describing breach of trust with research participants); ECF No. 38-20 ¶ 42 (describing stress

level); ECF No. 38-21 ¶ 22 (“I have potentially lost out on the ability to pursue a career path”);

ECF No. 38-30 ¶ 27 (noting that grant termination “may” cause study participants’ future

avoidance of healthcare”); ECF No. 38-31 ¶¶ 28 (describing inability to serve as a mentor to future

scientists); 30 (noting that two advisory board members may need to turn to other work); ECF No.

41 at 36 (broadly contending that “the public will miss out on an opportunity to benefit from the

research). Mere possibility, not likelihood, cannot support injunctive relief. See Narragansett
                                                 37
Indian Tribe v. Guilbert, 934 F.2d 4, 6–7 (1st Cir. 1991) (“[I]rreparable harm is not assumed; it

must be demonstrated”) (citation omitted).

        Unsurprisingly, Plaintiffs make no argument concerning any irreparable harm from the

alleged delay claims. See ECF No. 33-37. at 37-38. A party that cannot show irreparable harm

arising from the delayed payment of funds with respect to current grants cannot show irreparable

harm based on grants that do not yet exist.

        Plaintiffs’ Motion should be denied in full because they have not shown irreparable harm.

D.      An Injunction Would be Contrary to the Public Interest.

        The balance of equities and public interest weigh against granting a preliminary injunction.

The government has a strong interest in safeguarding the public fisc. See Mathews v. Eldridge, 424

U.S. 319, 348 (1976). NIH is unlikely to recover funds after the grantees spend them. See

California, 145 S. Ct. at 969. The loss of likely unrecoverable funds is a classic injury to the

government that should preclude preliminary relief. See Heckler v. Turner, 468 U.S. 1305, 1307-

1308 (1984) (Rehnquist, J.).

E.      Any Injunction should be Narrowly Tailored.

        Should the Court conclude that an injunction is required, which it should not do, the

“[i]njunctive relief should be no more burdensome to the defendant[s] than necessary to provide

complete relief to plaintiffs[.]” Tamko Roofing Prods, 282 F.3d at 40 (quoting Califano v.

Yamasaki, 442 U.S. 682, 702 (1979)). Court must “closely tailor injunctions to the harm that they

address.” Id.

        Here, at most, any remedy should address only sufficiently and specifically proven

irreparable harms by the Plaintiffs. Anything beyond that, including the nationwide injunction that

Plaintiffs seek, violates Article III, stretch traditional principles of equity past the breaking point,

and “take a toll on the federal court system—preventing legal questions from percolating through
                                                  38
the federal courts, encouraging forum shopping, and making every case a national emergency for

the courts and for the Executive Branch.” Trump v. Hawaii, 585 U.S. 667, 713 (2018) (Thomas,

J., concurring); see also Free Speech Coal., Inc. v. Att’y Gen. United States, 974 F.3d 408, 431 (3d

Cir. 2020) (vacating nationwide injunction and remanding for entry of relief limited to successful

as-applied plaintiffs). That two of the plaintiffs are membership associations does not warrant

extending injunctive relief to every member of that association or beyond. Nor does irreparable

harm resulting from one grant termination warrant a preliminary injunction for all other

terminations. Moreover, given that many of the declarations only discuss harms insufficient to

justify a preliminary injunction,19 this Court should tailor any injunction to the irreparable harms

proven (and the grantees that proved it).

F.     The Court Should Stay Any Order for Preliminary Relief and Order That Plaintiffs
       Post Bond.

       Based on the arguments in this Opposition, and due to the extraordinary breadth of the

relief sought in Plaintiffs’ motion, the United States respectfully requests that the Court stay any

preliminary injunction pending the disposition of any authorized appeal. At a minimum, the Court

should administratively stay any order, should the court decide to issue an injunction, for seven

days should the court decide to allow an opportunity to seek an emergency, expedited stay.

       Moreover, if the Court decides to grant preliminary injunctive relief, the Court should order

plaintiffs to post a bond equal to the amounts of any disbursements on previously terminated grants

during the pendency of this ligation. Under Federal Rule of Civil Procedure 65(c), the Court may

issue a preliminary injunction “only if the movant gives security” for “costs and damages




19
  See Doc Nos. 77-13 ¶ 5; 77-14 ¶ 64; 77-15 ¶¶ 40-45; 77-16 ¶¶ 35-37; 77-17 ¶¶ 36-39; 77-18 ¶
45, 51; 77-20 ¶ 51-54; 77- 22 ¶¶ 34-35; 77-24 ¶¶ 51-54; 77-25 ¶ 22; 77-26 ¶ 21; 77-27 ¶¶ 50, 51;
77-28 ¶¶ 1-5; 77-29 ¶¶ 32, 37; 77-30 ¶¶ 7, 11, 32-35.
                                                39
sustained” by defendants if they are later found to “have been wrongfully enjoined.” Fed. R. Civ.

P. 65(c); see also iQuartic, Inc. v. Simms, 15-cv-13015, 2015 WL 5156558, at *6 (D. Mass. 2015)

(“A movant for injunctive relief must give security in an amount that the Court considers proper

to pay costs and damages sustained by any party found to have been improvidently enjoined.”).

       “Since a preliminary injunction may be granted on a mere probability of success on the

merits, generally the moving party must demonstrate confidence in his legal position by posting

bond in an amount sufficient to protect his adversary from loss in the event that future proceedings

prove that the injunction issued wrongfully. The bond, in effect, is the moving party’s warranty

that the law will uphold the issuance of the injunction.” Glob. Naps, Inc. v. Verizon New England,

Inc., 489 F.3d 13, 21–22 (1st Cir. 2007) (quoting Edgar v. MITE Corp., 457 U.S. 624 (1982)).

       As the party seeking security, Defendants need only establish a “rational basis” for the

amount of the bond. Int’l Equity Inv., Inc. v. Opportunity Equity Partners, Ltd., 441 F. Supp. 2d

552, 566 (S.D.N.Y. 2006). Although the amount of an injunction bond is within the Court’s

discretion, courts “should err on the high side” because setting a bond amount too low might

produce injury since “the damages for an erroneous preliminary injunction cannot exceed the

amount of the bond.” Mead Johnson & Co. v. Abbott Labs., 201 F.3d 883, 888 (7th Cir. 2000).

“An error in setting the bond too high . . . is not serious” because, if the preliminary injunction is

subsequently found wrongful, the defendant does not automatically recover the entirety of the bond

amount, but instead must “prove its loss, converting the ‘soft’ numbers to hard ones.” Mead, 201

F. 3d at 888. On the other hand, “an error in the other direction produces irreparable injury, because

the damages for an erroneous preliminary injunction cannot exceed the amount of the bond.” Id.

VI.    CONCLUSION

       Wherefore, Defendants respectfully request that the Court deny plaintiffs’ Motion for

preliminary injunctive relief.
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                                                      Respectfully submitted,

                                                      LEAH B. FOLEY
                                                      United States Attorney

Dated: May 12, 2025                           By:     /s/ Anuj K. Khetarpal
                                                      Anuj Khetarpal
                                                      Assistant United States Attorney
                                                      United States Attorney’s Office
                                                      1 Courthouse Way, Suite 9200
                                                      Boston, MA 02210
                                                      Tel.: 617-748-3658
                                                      Email: Anuj.Khetarpal@usdoj.gov



                                 CERTIFICATE OF SERVICE

        I, Anuj Khetarpal, Assistant United States Attorney, hereby certify that this document, filed
through the ECF system, will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF). Paper copies will be sent to those indicated as non-registered
participants.


Dated: May 12, 2025                           By:     /s/ Anuj K. Khetarpal
                                                      Anuj Khetarpal
                                                      Assistant United States Attorney




                                                 41
